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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                            :

         v.                                         :       CRIMINAL NO. 20-45

ABDUR RAHIM ISLAM                                   :
SHAHIED DAWAN
KENYATTA JOHNSON                                    :
DAWN CHAVOUS

                           GOVERNMENT’S MOTION TO UNSEAL

        The United States of America, by and through its attorneys, Jennifer A. Williams, United

States Attorney for the Eastern District of Pennsylvania, and Eric L. Gibson and Mark B.

Dubnoff, Assistant United States Attorneys, hereby moves to unseal four motions in limine filed

by defendants Kenyatta Johnson and Dawn Chavous and the defendants’ motions to seal their

motions in limine. As explained below, there is a presumption of public access to each of the

defense filings, and neither Johnson nor Chavous has demonstrated that this presumption is

outweighed by any privacy interests.

   I.         Background

        On January 28, 2020, a federal grand jury returned a 22-count, 42-page indictment

against defendants Abdur Rahim Islam, Shaied Dawan, Kenyatta Johnson, and Dawn Chavous,

which included charges of RICO conspiracy, bribery, honest services fraud, wire fraud, and tax

offenses. ECF No. 1. On January 29, 2021, this Court granted a joint motion for severance filed

by defendants Johnson and Chavous and ordered that Counts Nine and Ten, which charged all

four defendants with honest services wire fraud, be severed from the remaining counts and tried

separately. ECF No. 77.
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       On October 14, 2021, this Court entered an Order stating that it would hold a bifurcated

trial, with the first phase consisting of all four defendants being tried on Counts Nine and Ten,

and the second phase consisting of Islam and Dawan being tried on the remaining counts. ECF

No. 108. On October 20, 2021, this Court entered a Scheduling Order, which stated that trial

would commence on February 1, 2022. ECF No. 111. The Order also set a deadline of January 4,

2022, for the filing of motions in limine. Id.

       On January 4, 2022, defendant Johnson filed a motion to seal what he called a “Motion to

Exclude Evidence Relating to Purported Violation of Ethics Laws.” ECF No. 127. Defendant

Chavous, meanwhile, filed motions to seal three motions in limine: a “Motion in Limine to

Exclude Testimony and Other Evidence Regarding a Document Production Oversight”; a

“Motion In Limine to Exclude Testimony And Other Evidence That Ms. Chavous Deleted E-

Mails From Her Personal Gmail Account”; and a “Motion in Limine to Exclude Testimony and

Other Evidence Pertaining to Ms. Chavous’ Finances.” ECF Nos. 117-119. On January 5, 2020,

this Court entered Orders granting all four motions to seal. See ECF No. 133-135, 140. See also

ECF No. 138 (referencing a sealed motion by defendant Johnson); Nos. 120-122 (referencing

three sealed motions by defendant Chavous).

       On January 7, 2022, this Court held a telephone conference with all counsel to address

the government’s motion to continue the trial in light of the current wave of the COVID-19

pandemic. ECF No. 147. At the end of the telephone conference, government counsel advised

the Court all four above-referenced motions to seal were based on misinterpretations of the

discovery Protective Order in this case (ECF No. 26) and the Local Criminal Rules governing

grand jury proceedings.


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         The government now moves to unseal these motions in limine and the motions to seal.

   II.      Argument

         The Third Circuit has repeatedly stated that there is a public right of access to judicial

documents in a criminal case, both under the First Amendment, see, e.g., United States v.

Thomas, 905 F.3d 276, 282 (3d Cir. 2018) (plea documents); In re Capital Cities/ABC, Inc.’s

Application for Access to Sealed Transcripts, 913 F.2d 89, 95 (3d Cir. 1990) (transcripts of

chambers and sidebar conferences); United States v. Smith, 776 F.2d 1104, 1112 (3d Cir. 1985)

(indictments, informations, and bills of particulars), and under the common law, see, e.g., In re

Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019) (“judicial

proceedings and records”); United States v. Smith, 776 F.2d 1104, 1110 (3d Cir. 1985) (“The

common law right of access is not limited to evidence, but rather encompasses all ‘judicial

records and documents’ . . . . It includes ‘transcripts, evidence, pleadings, and other materials

submitted by litigants’”) (citations omitted); United States v. Criden, 648 F.2d 814 (3d Cir. 1981)

(videotapes submitted in evidence).

         “A ‘judicial record’ is a document that ‘has been filed with the court . . . or otherwise

somehow incorporated or integrated into a district court’s adjudicatory proceedings.’ . . . Once a

document becomes a judicial record, a presumption of access attaches.” In re Avandia Mktg., 924

F.3d at 672 (quoting In re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001)).

         To justify sealing of a document under either standard, a similar rule applies. Under the

First Amendment, strict scrutiny applies. “A district court sealing a criminal record must make

‘particularized findings . . . on the record in each case, (1) establishing the existence of a

compelling governmental interest, and (2) demonstrating that absent limited restrictions upon the


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right of access, that other interest would be substantially impaired.’” Thomas, 905 F.3d at 282

(quoting United States v. Antar, 38 F.3d 1348, 1359 (3d Cir. 1994)).

       Likewise, to overcome the common law right and presumption of access, a party moving

to seal a judicial document must show “that the material is the kind of information that courts

will protect[,] and that disclosure will work a clearly defined and serious injury to the party

seeking closure.” Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (internal quotation marks

omitted). To overcome that strong presumption, the Court must articulate the compelling interest

to be protected and make specific findings on the record concerning the effects of disclosure. In

re Avandia Mktg., 924 F.3d at 672-73 (citing In re Cendant Corp., 260 F.3d at 194).

       A party seeking to overcome the presumption of public access to judicial records bears

the burden of showing “that the interest in secrecy outweighs the presumption.” In re Avandia

Mktg., 924 F.3d at 672 (quoting Bank of Am. Nat. Trust & Sav. Ass’n v. Hotel Rittenhouse

Assoc., 800 F.2d 339, 344 (3d Cir. 1986)). In this case, therefore, there is a presumption of public

access to each of the four motions in limine that defendants Johnson and Chavous moved to seal,

and each defendant bears the burden of showing that an interest in secrecy outweighs the

presumption.

       With regard to Johnson’s motion, there is a presumption that the public is entitled to

know why a sitting Philadelphia City Councilmember is seeking to preclude the jury from

considering evidence relating to his purported violation of ethics laws. ECF No. 127. Notably,

the public already has access to the allegations in the indictment that Johnson violated ethics

laws, including the specific allegations that:

           •   Defendant Johnson has been married to defendant Chavous since December 2011
               (ECF No. 1 at 4, ¶ 7);

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           •   In or around May 2013, defendant Chavous, operating as Chavous Consulting,
               entered into a contractual agreement with “Universal Companies” (id. at 12, ¶ 31),
               which was comprised of Universal Community Homes (“UCH”) and Universal
               Education Companies (“UEC”) (id. at 1-2, ¶ 1);

           •   This contract lasted until in or around October 2014 (id. at 12, ¶ 31);

           •   Chavous submitted five invoices to defendants Islam and Dawan, requesting
               payment under her contract with Universal Companies, and Chavous received
               five corresponding checks drawn on a UCH account, which had a total value of
               $66,750 (id. at 12, ¶ 32);

           •   On or about October 22, 2014, Chavous deposited a check from Universal
               Companies, in the amount of $17,250 (id. at 13, ¶ 38);

           •   The next day, October 23, 2014, defendant Johnson attended a refresher course on
               Ethics Training for members of the Philadelphia City Council, which specifically
               addressed conflicts of interest (id. at 13, ¶ 39);

           •   Despite having attended that ethics course, on October 30, 2014, defendant
               Johnson introduced a zoning ordinance that specifically benefitted UCH by
               proposing a change in the zoning requires for the Royal Theater, (id. at 13-14
               ¶ 40), a property owned at the time by UCH (id. at 9-12, ¶¶ 24-30);

           •   Johnson did not disclose the financial and contractual relationship between and
               among Chavous, Islam, Dawan, and Universal Companies to members of City
               Council, his staff, or other officials with the City of Philadelphia (id. at 14 ¶ 41);
               and

           •   Johnson also did not recuse himself from participating in the zoning legislation to
               benefit Universal Companies (id. at 14, ¶ 42).

       With regard to Chavous’ three motions in limine, there is a presumption that the public is

entitled to know why she is seeking to preclude the jury from considering evidence regarding “a

document production oversight,” ECF No. 117; her deletion of emails from her personal Gmail

account, ECF No. 118; and her finances. ECF No. 119. The defendants have not met their

respective burdens of showing that these presumptions of public access to their motions in limine

should be outweighed by any interests in secrecy.

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          The Protective Order does not require the impoundments of their motions. Paragraph 3 of

that Order states only that with respect to any public filing of materials obtained in discovery, the

parties must comply with Fed. R. Crim. P. 49.1 as it relates to materials containing personally

identifying or sensitive information, such as Social Security numbers, names of minor children,

dates of birth, and financial account numbers. ECF No. 26, ¶ 3. Thus, to the extent the

defendants wish to provide the Court with information obtained during discovery, they can do so,

as long as they redact any personal identifying and sensitive information from their public

filings. See Fed. R. Crim. P. 49.1. Nothing in the Protective Order or Rule 49.1 requires the filing

of entire documents under seal. 1

          The defendants also need not worry that their motions in limine violate Rule 6.1(c) of the

Local Criminal Rules for the United States District Court for the Eastern District of

Pennsylvania. Local Rule 6.1(c), by its terms, applies only to “legal proceedings relating to grand

jury investigations, including, but not limited to, motions to quash, limit, modify, or enforce a

grand jury subpoena.” L.R. 6.1(c). In other words, Local Rule 6.1 applies to disputes before the

grand jury judge. It does not apply to proceedings unrelated to grand jury investigations, such as

trials.


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          Rule 49.1 states in relevant part:

         (a) Redacted Filings. Unless the court orders otherwise, in an electronic or paper filing with the court that
contains an individual's social-security number, taxpayer-identification number, or birth date, the name of an
individual known to be a minor, a financial-account number, or the home address of an individual, a party or
nonparty making the filing may include only:
         (1) the last four digits of the social-security number and taxpayer-identification number;
         (2) the year of the individual's birth;
         (3) the minor's initials;
         (4) the last four digits of the financial-account number; and
         (5) the city and state of the home address.

Fed. R. Crim. P. 49.1(a).

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        Nor should the defendants be concerned about the potential impact that the publication of

their motions in limine will have on their ability to pick a jury and have a fair trial. It is standard

practice in this Court to ask potential jurors during voir dire whether they have heard anything

about the case for which they might be impaneled. If any potential juror answers affirmatively,

that person is then asked what that person has heard about the case and if such information

would impact the person’s ability to render a fair and impartial verdict. Potential jurors who have

already heard about the case and cannot be impartial are stricken from the panel.

        Lastly, to the extent the defendants’ motions to seal are based on arguments that their

motions in limine should be granted, they are conflating two different issues. Whether evidence

can be presented to a jury is a different inquiry than whether the public should have access to

judicial proceedings. By filing their motions in limine, the defendants invited public scrutiny of

their efforts to keep a jury from hearing evidence that:

            •   Defendant Johnson violated state and local ethics laws by: (i) introducing and
                voting for zoning ordinances to benefit Universal Community Homes, which had
                paid more than $66,000 to Chavous Consulting; and (ii) failing to disclose his
                wife’s employment by Universal to anyone else in City government;

            •   Defendant Chavous failed to produce a document obviously responsive to a grand
                jury subpoena directed to Chavous Consulting;

            •   Defendant Chavous intentionally deleted two years’ worth of emails from her
                personal email account; and

            •   Defendant Chavous had financial difficulties in early 2015, almost immediately
                after she stopped receiving the payments from Universal.

        The public is entitled to know why the defendants are seeking to prevent the jury from

considering such evidence. Likewise, the public is entitled to know whether the government will

oppose these defense motions, and if so, on what grounds. Finally, if there is a dispute over the


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admissibility of such evidence, the public is entitled to have access to any decision by this Court

resolving the issues. By filing their motions to seal, the defendants have also invited public

scrutiny into their efforts to hide such evidence from the public, especially as it relates to an

elected official, such as defendant Johnson.

   III.      Conclusion

          For all the foregoing reasons, the government respectfully submits that this Court should

reconsider and reverse its rulings granting defendants’ motions to seal their motions in limine

(ECF Nos. 133, 134, 135, 140). The defendants’ motions in limine (ECF Nos. 120, 121, 122,

138) and their motions to seal their motions in limine (ECF Nos. 117, 118, 119, 127) should all

be unsealed. If the defendants need to partially redact some of their filings in order to comply

with Fed. R. Crim. P. 49.1, the defendants should have two business days to substitute partially-

redacted documents for the documents presently on file.



                                               Respectfully submitted,

                                               JENNIFER A. WILLIAMS
                                               United States Attorney

                                               s/ Mark B. Dubnoff
                                               ERIC L. GIBSON
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                                               Assistant United States Attorneys

Dated: January 12, 2022




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served upon the

following counsel of record electronically and via ECF.

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Dated: January 12, 2022

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